Case 1:17-cv-23360-DPG Document 342 Entered on FLSD Docket 02/09/2022 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

    BRAMAN MOTORS, INC., d/b/a                                  Case No. 17-cv-23360-DPG
    BRAMAN BMW, PALM BEACH
    IMPORTS, INC., d/b/a BRAMAN
    MOTORCARS, and The DEPARTMENT
    OF HIGHWAY SAFETY AND MOTOR
    VEHICLES of the State of Florida, for the
    use and benefit of Braman Motors, Inc. and
    Palm Beach Imports, Inc.,
                                        Plaintiffs,

                            v.

    BMW OF NORTH AMERICA, LLC, and
    BAYERISCHE MOTOREN WERKE
    AKTIENGESELLSCHAFT,
                Defendants.

                 PLAINTIFFS’ APPEAL PURSUANT TO LOCAL RULE 4(a)(1)

         On December 20, 2021, Plaintiffs filed a motion for leave to supplement the summary

  judgment record with new evidence regarding the potential impact on Plaintiff Braman Motors,

  Inc. (“Braman Miami”) of the Service Effectiveness component of the Added Value Program (ECF

  #330). On January 27, 2022, Magistrate Judge Otazo-Reyes denied that motion (ECF #341).

         Because that motion related to the summary judgment record, Plaintiffs believe that any

  review of that motion and decision should be treated together with any potential review of the

  forthcoming report and recommendation on the pending cross-motions for summary judgment.

  Out of an abundance of caution and pursuant to Local Rule 4(a)(1) of the Magistrate Judge Rules,

  for the reasons stated in Plaintiffs’ briefing and during Oral Argument on January 26, 2022,

  Plaintiffs file this notice of appeal to the District Court to preserve the right to address the motion

  for leave and the evidence it sought to add to the record should it become necessary during briefing

  to the District Court regarding the forthcoming report and recommendation.
Case 1:17-cv-23360-DPG Document 342 Entered on FLSD Docket 02/09/2022 Page 2 of 2




  Dated: February 9, 2022
                                     Respectfully submitted,

                                            COLSON HICKS EIDSON, P.A.
                                            255 Alhambra Circle
                                            Coral Gables, FL 33134
                                            Tel: (305) 476-7000

                                            By: /s/ Curtis Miner
                                            Roberto Martínez (Florida Bar # 305596)
                                            Curtis Miner (Florida Bar # 885681)

                                            ARENT FOX LLP

                                            By:/s/ Charles Gallaer
                                            Russell P. McRory (Pro Hac Vice)
                                            Michael P. McMahan (Pro Hac Vice)
                                            Charles A. Gallaer (Florida Bar # 117729)
                                            1301 Avenue of the Americas, Fl. 42
                                            New York, NY 10019
                                            Tel: (212) 484-3900
                                            Fax: (212) 484-3990

                                            Taniel E. Anderson (Pro Hac Vice)
                                            1717 K St., NW
                                            Washington, DC 20006
                                            Tel: (202) 857-6000
                                            Fax: (202) 857-6395

                                            David S. Leibowitz
                                            General Counsel
                                            Brian J. Shack
                                            Associate General Counsel
                                            Braman Management Association
                                            2060 Biscayne Blvd, Second Floor
                                            Miami, FL 33137

                                            Counsel for Plaintiffs




                                        2
